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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CV-60896-RAR

 LORI MCCUE,

        Plaintiff,

 v.

 A1 EXCURSIONS LLC, and
 TOP TIER TRAVELS LLC,

       Defendants.
 ____________________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

        THIS CAUSE comes before the Court upon Plaintiff’s Notice of Settlement [ECF No.

  8], filed on June 13, 2022, indicating that the parties have reached an agreement resolving this

  matter. The Court having carefully reviewed the file, and being otherwise fully advised, it is

  hereby

        ORDERED AND ADJUDGED as follows:

        1.      The above-styled action is administratively CLOSED without prejudice to the

 parties to file a stipulation of dismissal within sixty (60) days of the date of this Order.

        2.      The Clerk shall CLOSE this case for administrative purposes only.

        3.      Any pending motions are DENIED AS MOOT.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 13th day of June, 2022.



                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
